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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION




UNITED STATES OF AMERICA


     V.                                          CR 108-168-2


DARRYL ERNEST KIRKLAND, JR,




                                  ORDER




     On June 24, 2016, while on supervised release, Defendant

Darryl Ernest Kirkland, Jr. was arrested and charged with the

offense of felony possession of oxycodone with intent to distribute

by the state authorities.         This was a violation of a mandatory

condition   of   Defendant's   supervised    release.        Accordingly,    a

warrant was issued for his arrest.        Because Defendant was already

in state custody, a federal detainer was lodged against him.

     Defendant was sentenced and served time in state custody on

the felony possession charge.        He was then released to federal

custody to answer the petition for revocation of his supervised

release.    On September 25, 2018, Defendant's term of supervised

release was revoked, and he was sentenced to a term of imprisonment

of 30 months.


     At    present.   Defendant    has   filed    a   pro   se   ^'Motion   for

Clarification," essentially asking the Court to credit the time he

served in state custody on the felony possession charge against

his federal sentence.
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       The time served in state custody on the felony possession

charge is separate and distinct from                 the time Defendant was

sentenced to serve for violating the conditions of his supervised

release.         They   are   two   separate   sentences      for      two    separate

offenses.


       Moreover, matters of credit for time served and other length

of    sentence    determinations     are   better   directed      to    the   federal

Bureau of Prisons ("BOP") and not this Court.                Indeed, the BOP has

the power to designate the housing state facility nunc pro tune as

the place of federal confinement so that a defendant may gain

credit against a federal sentence for the time served in the state

facility.      However, this is a decision within the discretion of

the BOP.


        Moreover, any judicial challenge to the BOP's decision must

be brought under 28 U.S.C. § 2241 in the district of confinement

rather than in the sentencing court.            Fernandez v. United States,

941 F.2d 1488, 1495 (11th Cir. 1991); see also United States v.

Nyhuis, 211 F.3d 1340, 1345 (11th Cir. 2000) ("A claim for credit

for    time   served    is    brought under    28   U.S.C.    §   2241 after       the

exhaustion       of   administrative    remedies.").         Accordingly,         once

Defendant exhausts his administrative remedies with the BOP, he

must bring his § 2241 challenge in the District of South Carolina,

which    has territorial jurisdiction over the facility in                       which

Defendant is presently incarcerated.

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     Upon the foregoing, Defendant's motion for clarification

(doc. 532) is hereby DENIED.       The Clerk is directed to serve a

copy of this Order upon Defendant.                       ^
     ORDER ENTERED   at Augusta, Georgia,                  day of July,

2019.




                                       J.                 :hief judge
                                       UNITED   TATES DISTRICT COURT
                                       ;OUTH     DISTRICT OF GEORGIA
